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            14 Attorneys for Defendants
               NobleSpirit, LLC and Joe Cortese
            15

            16                              UNITED STATES DISTRICT COURT
            17                           NORTHERN DISTRICT OF CALIFORNIA
            18                                       OAKLAND DIVISION

            19      KLAUS PERMER, an individual                    Case No.: 4:19-cv-03965-DMR
            20                        Plaintiff,                   JOINT STIPULATION FOR DISMISSAL
                                                                   WITH PREJUDICE
            21         v.
            22
               NOBLESPIRIT, LLC, a New Hampshire
            23 limited liability corporation; JOE CORTESE,
               an individual
            24
                                       Defendants.
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PRETI FLAHERTY
      PLLP                                     STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                       Case No.: 4:19-CV-03965-DMR
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                      Case 4:19-cv-03965-DMR Document 59 Filed 02/17/21 Page 2 of 3



                 1         NOW COME the parties, Plaintiff/Counter-Defendant, Klaus Permer; Defendant Joseph

                 2 Cortese; and Defendant /Counter-Plaintiff NobleSpirit, LLC, by and through their undersigned

                 3 counsel, and respectfully agree and stipulate that Judgment shall be entered for the Defendants

                 4 and the case may be dismissed with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1).

                 5         The Parties further stipulate and agree that each of them will bear his or its own attorney’s

                 6 fees, costs, and expenses incurred in this proceeding.

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                 8

                 9                                                         Respectfully submitted,

            10 DATED: February 17, 2021                          LAW OFFICES OF WILLIAM G. HANSON

            11                                                                           /s/
                                                                                William Hanson
            12                                                                Attorney for Plaintiff
                                                                                Klaus Permer
            13

            14 DATED: February 17, 2021                          FUTTERMAN DUPREE DODD CROLEY
                                                                          MAIER LLP
            15
                                                                                         /s/
            16                                                                  Daniel A. Croley
                                                                             Attorney for Defendants
            17                                                           NobleSpirit, LLC and Joseph Cortese
            18
            19 DATED: February 17, 2021                                     PRETI FLAHERTY, PLLP

            20                                                                          /s/
                                                                              Peter G. Callaghan, Esq
            21                                                                Attorney for Defendants
                                                                           NobleSpirit, LLC and Joseph Cortese
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PRETI FLAHERTY
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                                                  STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                          Case No.: 4:19-CV-03965-DMR
                                                                                                                 16387281.3
                      Case 4:19-cv-03965-DMR Document 59 Filed 02/17/21 Page 3 of 3



                 1                                          ATTESTATION

                 2           I, Peter G. Callaghan, am the ECF user whose user id and password authorized the filing

                 3 of this document. Under Civil L.R. 5-1(i)(3), I attest that William Hanson has concurred in this

                 4 filing.

                 5

                 6 DATED: February 17, 2021                              PRETI FLAHERTY, PLLP

                 7

                 8                                                                   /s/
                                                                            Peter G. Callaghan
                 9                                                        Attorney for Defendants
                                                                      NobleSpirit, LLC and Joe Cortese
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                                                  STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                          Case No.: 4:19-CV-03965-DMR
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